  Case: 1:17-cv-00417 Document #: 604 Filed: 10/28/21 Page 1 of 4 PageID #:16539




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

EDDIE L. BOLDEN,                              )
                                              )
                          Plaintiff,          )              Case No. 17 C 00417
                                              )
                vs.                           )              Honorable Steven C. Seeger
                                              )
ANGELO PESAVENTO, et al.,                     )
                                              )
                          Defendants.         )

DEFENDANTS’ PROPOSED FACTS REGARDING THE PROCEDURAL HISTORY OF
                   PLAINTIFF’S CRIMINAL CASE

        1.      On October 30, 1996, Mr. Bolden was found guilty by a jury for the murders of

Derrick Frazier and Ledell Clayton, the attempted murder of Clifford Frazier, and the aggravated

battery of Clifford Frazier.

        2.      Subsequent to his conviction, on October 31, 1996, Mr. Bolden was sentenced to

natural life in prison.

        3.      On direct appeal, Mr. Bolden raised the following issues: (1) whether he was proved

guilty beyond a reasonable doubt; and (2) whether the trial court erred by denying his motion to

suppress the prearrest identification. On January 15, 1999, the Illinois Appellate Court rejected

Mr. Bolden’s claims and affirmed Mr. Bolden’s convictions.

        4.      Mr. Bolden appealed to the Illinois Supreme Court. In this appeal, the sole issue

Mr. Bolden raised regarding the way the lineup was conducted, and the sole basis on which Mr.

Bolden asked the Illinois Supreme Court to suppress the identification, was that his lawyer was

not permitted to observe the lineup from the witness room. On June 21, 2001, the Illinois Supreme

Court rejected Mr. Bolden’s claim and affirmed Mr. Bolden’s convictions.
  Case: 1:17-cv-00417 Document #: 604 Filed: 10/28/21 Page 2 of 4 PageID #:16540




       5.      After Mr. Bolden’s appeals were denied, he filed a post-conviction petition in the

Circuit Court of Cook County. Mr. Bolden asserted that his trial attorney, Kevin Foster, was

constitutionally defective. Mr. Bolden maintained that the outcome of his trial would have been

different if his counsel had provided effective assistance. The Cook County State’s Attorney’s

Office moved to dismiss Mr. Bolden’s post-conviction petition and a judge in the Circuit Court of

Cook County dismissed the petition without evidentiary hearing. Mr. Bolden appealed that

decision.

       6.      On June 18, 2014, the Illinois Court of Appeals reversed the Circuit Court’s

dismissal of Mr. Bolden’s post-conviction petition and ordered an evidentiary hearing. The Court

of Appeals determined that Mr. Bolden’s Petition adequately alleged a claim for ineffective

assistance of counsel.

       7.      As a result of the Illinois Court of Appeals Order, Mr. Bolden’s case proceeded to

an evidentiary hearing in the Circuit Court of Cook County, which took place between November

10, 2015 and November 30, 2015. Clifford Frazier’s identification of Mr. Bolden as the offender

was not an issue at the evidentiary hearing. The propriety of the police investigation was not an

issue at the evidentiary hearing.

       8.      On January 21, 2016, the Circuit Court of Cook County, Judge Alfredo Maldonado,

vacated Mr. Bolden’s convictions and ordered a new trial for Mr. Bolden based on Mr. Bolden

receiving ineffective assistance of counsel. The Court did not vacate Mr. Bolden’s convictions

because of any allegations of police misconduct.

       9.      On April 19, 2016, the Cook County State’s Attorney’s Office moved to dismiss

all charges against Mr. Bolden. The Circuit Court of Cook County granted the State’s motion and

dismissed all charges against Mr. Bolden that same day. Plaintiff’s Trial Exhibit 187 is a true
  Case: 1:17-cv-00417 Document #: 604 Filed: 10/28/21 Page 3 of 4 PageID #:16541




and correct copy of the court order dismissing the case against Mr. Bolden. Mr. Bolden was

released from prison that day.

       10.     On May 25, 2016, Mr. Bolden filed a Petition for a Certificate of Innocence

“(Petition”) that was heard before Judge LeRoy K. Martin, on September 1, 2016. . On that date,

the Cook County State’s Attorney’s Office took no position on Mr. Bolden’s Petition. Judge

Martin then issued an Order granting Mr. Bolden’s Petition. The Court did not hold an evidentiary

hearing regarding the Petition. The Court did not hear testimony from witnesses, admit evidence,

or engage in an adversarial evidentiary hearing prior to granting the Petition. Plaintiff’s Trial

Exhibit 72 is a true and correct copy of the court’s order granting the petition.

                                                     Respectfully submitted,


                                                     /s/ Brian J. Stefanich
                                                     Special Assistant Corporation Counsel

                                                     Attorneys for Defendant Officers

                                                     Andrew M. Hale
                                                     Barrett Boudreaux
                                                     William Bazarek
                                                     Amy A. Hijjawi
                                                     Brian J. Stefanich
                                                     Hale & Monico, LLC
                                                     53 W. Jackson, Suite 337
  Case: 1:17-cv-00417 Document #: 604 Filed: 10/28/21 Page 4 of 4 PageID #:16542




                                   CERTIFICATE OF SERVICE

          I, the undersigned attorney, certify that this was filed using the Court’s electronic filing
system. As a result, copies of the filed document were electronically served upon all counsel of
record.
                                                 /s/ Brian J. Stefanich
